    Case 22-19361-MBK             Doc 1983 Filed 12/15/23 Entered 12/16/23 00:13:36                       Desc
                                 Imaged Certificate of Notice Page 1 of 6



      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY
      Caption in Compliance with D.N.J. LBR 9004-1(b)
                                                                       Order Filed on December 13, 2023
                                                                       by Clerk
      Jeffrey Traurig                                                  U.S. Bankruptcy Court
      TRAURIG LAW LLC                                                  District of New Jersey
      One University Plaza, Suite 124
      Hackensack, NJ 07601
      Tel: (646) 974-8650
      E-mail: jtraurig@trauriglaw.com
      Counsel for the Fee Examiner


      In re:                                             Case No. 22-19361 (MBK)
      BLOCKFI INC., et al.,1                             Judge Michael B. Kaplan

                                                         Chapter 11
                                Debtors
                                                         (Jointly Administered)


                     ORDER ALLOWING INTERIM COMPENSATION FOR
                      SERVICES RENDERED AND REIMBURSEMENT OF
                  EXPENSES OF THE DEBTORS’ RETAINED PROFESSIONALS


         The relief set forth on the following pages(s), number two (2) through three (3), is hereby
     ORDERED.




DATED: December 13, 2023
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 Case22-19361-MBK
      22-19361-MBKDoc Doc
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 (Page 2)
 BLOCKFI INC., et al.
 Chapter 11, Case No.: 22-19361 (MBK) (Jointly Administered)
 Order Granting Interim Compensation for the Debtors’ Retained Professionals

            Upon the interim fee applications (the “Interim Applications”) of the professionals retained

 in the above-captioned Debtors’ chapter 11 cases and listed on Exhibit A hereto (collectively, the

 “Retained Professionals” and each a “Retained Professional”) by the Debtors, and this Court

 having previously authorized the employment of the Retained Professionals in the Debtors’ cases;

 and it appearing that all of the requirements of sections 327, 328, 330, and 331 of title 11 of the

 United States Code, as well as Rule 2016 of the Federal Rules of Bankruptcy Procedure and the

 local rules of this Court have been satisfied; and it further appearing that the fees and expenses

 incurred were reasonable and necessary; and proper and adequate notice of the Interim

 Applications has been given and that no other or further notice is necessary; and no objections or

 other responses having been filed with regard to the Interim Applications; and in consideration of

 the various recommendations of the fee examiner, Elise S. Frejka (the “Fee Examiner”) with

 respect to the Interim Applications as set forth in the Fee Examiner’s Consolidated Final Report

 Regarding Second Interim Fee Applications of Professionals Retained by the Debtors [Docket No.

 ____]; and the Court having considered the Interim Applications of the Retained Professionals and

 the Consolidated Report, and good and sufficient cause appearing therefore, accordingly,

            IT IS HEREBY ORDERED THAT:
Case
 Case22-19361-MBK
      22-19361-MBKDoc Doc
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 (Page 3)
 BLOCKFI INC., et al.
 Chapter 11, Case No. : 22-19361 (MBK) (Jointly Administered)
 Order Granting Interim Compensation for the Debtors’ Retained Professionals

            1.    The Interim Applications are hereby approved in the amounts set forth on Exhibit

 A attached to this Order.

            2.    The Retained Professionals are hereby granted allowance of compensation and

 reimbursement of expenses in the amounts set forth on Exhibit A under the columns entitled

 “Total Amount Allowed per Court Order (Fees)” and “Total Amount Allowed per Court Order

 (Expenses)” (jointly, the “Allowed Professional Claims”).

            3.    The Wind-Down Debtors2 are hereby authorized and directed to remit to each

 Retained Professional the full amount of the Allowed Professional Claims less any and all amounts

 previously paid on account of such fees and expenses. Without limiting the foregoing, any

 amounts previously held back with respect to the period covered by the Interim Applications may

 be released in payment of the Allowed Professional Claims.

            4.    This Order shall constitute a separate order for each Retained Professional and the

 appeal of any order with respect to any Retained Professional shall have no effect on the authorized

 fees and expenses of the other Retained Professionals.

            5.    This Court shall retain jurisdiction to hear and determine all matters arising from

 or related to the implementation or interpretation of this Order.




 2
  As defined in the Third Amended Joint Chapter 11 Plan of BlockFi Inc. and its Debtor Affiliates Pursuant to Chapter
 11 of the Bankruptcy Code (Additional Technical Modifications).
Case
 Case22-19361-MBK
      22-19361-MBKDoc Doc
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                                  EXHIBIT A
                                                             BLOCKFI INC., et al. Case No.: 22-19361 (MBK)
                                                                                                                                                                     Case




                                                                         Fee Examiner's                      Fee Examiner's     Total Amount        Total Amount
                                         Compensation   Interim Fees    Recommended Fee Interim Expenses     Recommended      Allowed per Court      Allowed per
                Applicant                   Period       Requested        Adjustments       Requested      Expense Adjustment    Order (Fees)   Court Order (Expenses)
Kirkland & Ellis LLP and Kirkland and    04/01/2023 –   $6,283,704.00     $15,000.00     $1,065,031.40            $0.00        $6,268,704.00       $1,065,031.40
                                                                                                                                                                      Case22-19361-MBK




Ellis International LLP, Co-Counsel to   07/31/2023
the Debtors (Dkt. No. 1616)
                                                                                                                                                                           22-19361-MBK




Haynes and Boone, LLP,                   04/01/2023 –   $4,499,553.40          $0.00       $92,745.16             $0.00        $4,499,553.40          $92,745.16
Co-Counsel to the Debtors                07/31/2023
(Dkt. No. 1575)
                                                                                                                                                                                       Doc Doc




Cole Schotz P.C.,                        04/01/2023 –    $348,436.50           $0.00        $4,960.63         $2,755.71          $348,436.50           $2,204.92
                                                                                                                                                                                         Imaged




Local Counsel to the Debtors             07/31/2023
(Dkt. No. 1572)
                                                                                                                                                                                           1933 1983




Moelis & Company LLC,                    04/01/2023 –    $800,000.00           $0.00       $20,766.63             $0.00          $800,000.00          $26,766.63
                                                                                                                                                                                              Document




Investment Banker, Capital Markets       07/31/2023
Advisor, and Financial Advisor to the
                                                                                                                                                                                                  Certificate




Debtors (Dkt. No. 1580)
                                                                                                                                                                                                  Filed 12/01/23




Deloitte Tax LLP (Tax Services           03/01/2023 –     608,099.50       $1,000.00            $0.00             $0.00          $607,099.50               $0.00
                                                                                                                                                                                                             Page




Provider to the Debtors) (Dkt. No.       7/31/2023
1513)
                                                                                                                                                                                                         Filed 12/15/23




Kroll Restructuring Administration                        $34,716.97           $0.00            $0.00             $0.00           $34,716.97               $0.00
                                                                                                                                                                                                               of Notice




                                         04/01/2023 –
LLC, Administrative Advisors to the      07/31/2023
Debtors (Dkt. No. 1571)
                                                                                                                                                                                                                   Entered 12/01/23
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           Case 22-19361-MBK                     Doc 1983 Filed 12/15/23 Entered 12/16/23 00:13:36                                                Desc
                                                Imaged Certificate of Notice Page 6 of 6
                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 22-19361-MBK
BlockFi Inc.                                                                                                           Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-3                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: Dec 13, 2023                                               Form ID: pdf903                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 15, 2023:
Recip ID                 Recipient Name and Address
db                     + BlockFi Inc., c/o M3 Partners, 1700 Broadway, 19th Floor, New York, NY 10019-5905

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 15, 2023                                            Signature:           /s/Gustava Winters
